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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

)
SHANA BUGGS, )
) Case No.: 1:16-cev-03114-ADC
Plaintiff, )
v. )
)
SOUTHWEST CREDIT SYSTEMS, L.P.,
Defendant.
)
)
STIPULATION TO DISMISS
TO THE CLERK:

Pursuant to Rule 41(a)(1)(A)(ii), counsel for all parties hereto stipulate to the

dismissal with prejudice and with each party to bear its own costs and fees.

/s/ Jeffrey Friedman /s/ Amy L. Bennecoff Ginsburg
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Attorney for Plaintiff
Date: March 8, 2017

 

Date: March 8, 2017

 

BY THE COURT:

 
